                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION - FRANKFORT


 JUDICIAL WATCH, INC.,

                    Plaintiff,


 UNITED STATES OF AMERICA,
                                                            Civil No. 3:17-CV-94-GFVT-EBA
                    Proposed Plaintiff-Intervenor,

                    v.

 ALISON LUNDERGAN GRIMES, et al.,

                    Defendants.


                   JOINT MOTION FOR ENTRY OF AGREED ORDER

       The parties and proposed parties, through their undersigned counsel, respectfully move

this Court to enter the accompanying Agreed Order. The parties and proposed parties have

negotiated in good faith and agreed to entry of the proposed Agreed Order to resolve all claims

in this action and to ensure compliance with Section 8 of the National Voter Registration Act, 52

U.S.C. § 20507. The parties and proposed parties share the goals of (1) improving the accuracy

of voter registration records through a general program that makes a reasonable effort to remove

the names of ineligible voters from the official lists of registered voters and (2) ensuring that

Kentucky residents are not removed from official lists of registered voters absent the procedural

safeguards set forth in the NVRA.

       WHEREFORE, the parties and proposed parties move that the accompanying Agreed

Order be entered by this Court.

       AGREED AND CONSENTED TO, JUNE 12, 2018.
For proposed Plaintiff-Intervenor United States of America:

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Civil Rights Division


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Date: June 12, 2018




                                             -2-
For Plaintiff Judicial Watch:



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Date: June 12, 2018




                                       -3-
For Defendant Kentucky Secretary of State Alison Lundergan Grimes, in her official capacity:



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Date: June 12, 2018




                                             -4-
For proposed Defendant Commonwealth of Kentucky State Board of Elections, and Defendant
board members and Executive Director thereof:



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                                          -5-
For proposed Defendant Commonwealth of Kentucky:

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Date: June 12, 2018




                                            -6-
                               CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2018, a true and correct copy of the foregoing document

was served via the Court’s ECF system to all counsel of record.



                                                    /s/ David G. Cooper
                                                    David G. Cooper




                                              -7-
